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                        IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF SOUTH CAROLINA
                                CHARLESTON DIVISION

                                         )             Civil Action No.
Auto-Owners Insurance Company,           )
                                         )
                             Plaintiff,  )            COMPLAINT
                                         )            (Declaratory Judgment)
      vs.                                )            (Non-Jury Trial Demanded)
                                         )
Edward C. Ross, Vivian Ross, and         )
Ross Walls & Ceilings Ltd., LLC,         )
                                         )
                             Defendants. )
____________________________________)

       COMES NOW the Plaintiff, Auto-Owners Insurance Company (“Auto-Owners”),

complaining of the Defendants Edward C. Ross, Vivian Ross, and Ross Walls & Ceilings Ltd.,

LLC (collectively referred to as “Defendants”), by and through undersigned counsel and

respectfully shows unto the Court as follows:

                                PARTIES AND JURISDICTION

       1.      Pursuant to 28 U.S.C. §2201, Auto-Owners seeks a declaratory judgment and

adjudication concerning the rights, obligations and liabilities of the parties under automobile policy

of insurance issued by Auto-Owners, under which Defendants seek underinsured motorist

(“UIM”) benefits in a lawsuit filed by Edward C. Ross and Vivian Ross in the Clarendon County

Court of Common Pleas, Case No. 2022-CP-14-00480.

       2.      Auto-Owners is a company organized under the laws of Michigan with its principal

place of business in Lansing, Michigan. At all relevant times, Auto-Owners was authorized to do

business as an insurance company in the State of South Carolina.

       3.      Upon information and belief, Edward C. Ross and Vivian Ross are individuals

currently residing in Clarendon County, South Carolina.

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       4.      Upon information and belief, Ross Walls & Ceilings Ltd., LLC is a limited liability

company incorporated and existing under the law of the State of South Carolina and doing business

in South Carolina.

       5.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332 because the

Plaintiff and Defendants are residents of different states and the amount in controversy exceeds

$75,000, exclusive of interest and costs.

       6.      Venue is proper in the Charleston Division of the Court under 28 U.S.C. § 1391

because the defendants reside in the Division and the underlying motor vehicle-pedestrian accident

out of which this insurance coverage dispute arises, occurred in Clarendon County, South Carolina.

                                      MATERIAL FACTS

       7.      Auto-Owners re-alleges and incorporates herein by reference its prior allegations

not inconsistent herewith.

       8.      This complaint arises out of a motor vehicle accident that took place on February

7, 2022 in Clarendon County, South Carolina, when Mr. Ross was struck by Kenneth Foley’s

vehicle (the “Accident”).

       9.      At the time of the Accident, Mr. Ross was a pedestrian walking across a commercial

parking lot. Mr. Foley was backing his vehicle out of a parking spot when it struck Mr. Ross.

       10.     As a result of the Accident, Mr. Ross sustained injuries.

       11.     Upon information and belief, Mr. Ross’s vehicle was not damaged by the Accident

or otherwise involved.

       12.     Auto-Owners issued a Commercial Automobile Insurance Policy to Ross Walls &

Ceilings Ltd., LLC, Policy No. 44-368-377-00 (the “Policy”). The Policy provides, subject to its




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terms and conditions, combined UIM bodily injury and property damage coverage with limits of

$500,000 each accident. (See Exhibit A, Auto-Owners Policy).

       13.      The Policy provides Underinsured Motorist Coverage for Covered Autos, symbol

6, which is “Owned Autos Subject to a Compulsory Uninsured Motorists Law.” The Policy insures

the following two vehicles:

             a. 2005 Ford Expedition; and

             b. 2002 Ford Econoline.

       14.      The Policy provides UIM coverage to anyone occupying a covered auto or a

temporary substitute auto for a covered auto.

       15.      On May 8, 2023, Mr. Ross notified Auto-Owners of the Accident and demanded

$500,000 in UIM benefits under the Policy.

       16.      On July 21, 2023, Mr. Ross was notified that there is no UIM coverage available to

Mr. Ross under the Policy because Mr. Ross was not “occupying” a covered auto at the time of

the Accident.

       17.      On or about October 27, 2022, Edward C. Ross and Vivian Ross filed a complaint

in the Clarendon County Court of Common Pleas styled as: Edward C. Ross and Vivian Ross v.

Kenneth Foley, Case No. 2022-Cp-14-00480 (the “Underlying Lawsuit”).

       18.      Upon information and belief, Mr. Ross settled with the liability insurance carrier,

Farm Bureau of North Carolina, for $100,000.

       19.      On or about November 30, 2023, Mr. Ross filed a Notice of Underinsured Motorist

Claim in the Underlying Lawsuit. Auto-Owners was served with the Summons and Complaint on

December 4, 2023.




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       20.     Auto-Owners is informed and believes that Mr. Ross qualifies as an insured for

UIM benefits under the Policy issued to Ross Walls & Ceilings Ltd, LLC, but only to the extent

that Mr. Ross was “occupying” a covered auto at the time of the Accident.

       21.     At the time of the Accident, Mr. Ross was a pedestrian and not “occupying” a

covered auto as defined by the terms and conditions of the Policy.

       22.     The Policy states, in relevant part:

   SOUTH CAROLINA UNDERINSURED MOTORIST COVERAGE – COMBINED
                                         LIMIT
     A. COVERAGE
        1. We will pay in accordance with the South Carolina Underinsured Motorists Law
           all sums the insured is legally entitled to recover as damages from the owner or
           driver of an underinsured motor vehicle. The damages must result from bodily
           injury sustained by an insured or property damage caused by an accident.

       B. WHO IS AN INSURED
          If the Named Insured is designated in the Declarations as:
          2. A partnership, limited liability company, corporation or any other form of
               organization, then the following are insureds:
               a. Anyone occupying a covered auto or a temporary substitute auto for a
                  covered auto. The covered auto must be out of service because of its
                  breakdown, repair, servicing, loss or destruction.

       D. LIMIT OF INSURANCE

       1. Regardless of the number of covered autos, insureds, premiums paid, claims
          made or suits brought, persons injured or vehicles involved in the accident, the
          most we will pay for all damages resulting from any one accident is the limit of
          Underinsured Motorist Coverage shown in the Declarations. If the bodily injury
          is sustained by any insured while occupying a covered auto, or the Named
          Insured’s covered auto sustains property damage in an accident, our limit is the
          sum of:
          a. The Limit Of Insurance shown in the Declarations for this coverage
            applicable to a covered auto; and
          b. That part of the limit for this coverage that applies to each additional covered
            auto that does not exceed the Limit Of Insurance applicable to the covered
            auto involved in the accident.

         2. Subject to the maximum Limit Of Insurance for all damages:
           a. Regardless of the number of covered autos, insureds, premiums paid, claims
             made or suits brought, persons injured or vehicles involved in the accident,

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               the most we will pay for bodily injury sustained in an accident by an insured
               other than an individual Named Insured or any family member is that
               insured’s pro rata share of the limit shown in the Declarations for this
               coverage that applies to the vehicle that insured was occupying at the time of
               the accident.
              A person’s pro rata share will be the proportion that that person’s damages bear
               to the total damages sustained by all insureds.

        23.      The Policy contains the following relevant definitions:

        F. ADDITIONAL DEFINITIONS

              1. Occupying means in, upon, getting in, on, out or off.

        24.      Auto-Owners is informed and believes that the Policy would provide UIM coverage

to Mr. Ross, only if he was “occupying” a covered auto at the time of the Accident.

                            FOR A FIRST CAUSE OF ACTION
                                 (Declaratory Judgment)

        25.      Auto-Owners adopts and re-alleges each and every allegation set forth above, and

not inconsistent herewith, as if fully repeated herein.

        26.      Auto-Owners seeks relief pursuant to the Federal Declaratory Judgment Act

codified at 28 U.S.C. § 2201 and Rule 57 of the Federal Rules of Civil Procedure.

        27.      Auto-Owners is informed and believes that a justiciable controversy exists between

the parties, that the parties named as defendants have or may claim an interest in the subject matter

of this litigation, and that the disposition of the policies in this matter will affect the rights and

liabilities of the defendants.

        28.      Auto-Owners contends that the Policy and South Carolina law provide UIM

coverage only if Mr. Ross was “occupying” a covered auto at the time of the Accident.

        29.      Accordingly, there is no UIM coverage available for defendants because:

              a. At the time of the Accident, Mr. Ross was a pedestrian walking across a commercial

                 parking lot when the back of Mr. Foley’s vehicle struck him;

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             b. The Policy lists the Named Insured as Ross Walls & Ceilings Ltd., LLC and not

                Mr. Ross individually;

             c. The Policy defines an insured, for purposes of UIM coverage, as anyone

                “occupying” a covered auto or a substitute auto for a covered auto;

             d. The Policy defines “occupying” as “in, upon, getting in, on, out or off’”;

             e. At the time of the Accident, Mr. Ross was not physically touching his vehicle or

                engaged in the process of being in, upon, getting in, on out or off of a covered auto;

             f. At the time of the Accident, Mr. Ross was not using his vehicle or a covered auto;

             g. Therefore, at the time of the Accident, Mr. Ross did not qualify as an insured under

                the Policy and is unable to recover UIM benefits; and

             h. Such other and additional reasons as may be supported by the discovery in this

                action.

       30.      Auto-Owners respectfully requests that the Court inquire into the dispute between

the parties, review the relevant Policy and applicable facts, and issue a Declaratory Judgment as

to the rights and responsibilities of the parties under the Policy.

       WHEREFORE, Auto-Owners prays:

   (1) That the Court inquire into these matters and enter an Order declaring that there is no UIM

       coverage available for the loss at issue;

   (2) For reasonable attorney’s fees and cost; and

   (3) For such other and further relief as this Court may deem just and proper.




                                SIGNATURE PAGE TO FOLLOW



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                                          Respectfully Submitted By:

                                          By: /s/ Michelle N. Endemann
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                                          Attorneys for Plaintiff Auto-Owners Insurance
                                          Company

On this 9th day of May, 2024
Charleston, South Carolina




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